                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE




AFC SOUTH, INC., d/b/a                            )
ROCK HARBOR MARINE,                               )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )   Civil Action No. 3:12-cv-00564
                                                  )   Jury Demand
THE TRAVELERS INSURANCE                           )
COMPANIES, THE CHARTER OAK                        )
FIRE INSURANCE COMPANY, ST.                       )
PAUL FIRE & MARINE INSURANCE                      )
and ANCHOR INSURANCE AGENCY,                      )
INC.,                                             )
                                                  )
       Defendants.                                )

                              AGREED ORDER OF DISMISSAL

       Upon the representation of counsel for all parties, as evidence by their signatures below,

that all claims in this action have been compromised and settled, this Court hereby dismisses all

claims and demands made in this action with prejudice. Each party is responsible for its own

costs in this matter and there is no award of discretionary costs or court costs.

       IT IS SO ORDERED.




                                                      UNITED STATES DISTRICT COURT JUDGE




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and that entity incorrectly named as
“the Travelers Insurance Companies”


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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served, via the Court’s electronic

filing system on the following counsel of record, this the 3rd day of June, 2015.

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                                                       s/ Ronald G. Harris




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